
Per Curiam.
The action was for the recovery of an amount of money advanced by the plaintiff at the request of the defend*247ant for his benefit, to be handed to Richard Seybold, an agent of the defendant.
The only dispute in the case is in regard to several advances when the plaintiff, it will be assumed, did not draw any check to the order of Richard Seybold, but did at his request and under his direction obtain money on her check and with that money make disbursements upon the work which Richard Seybold had in charge. This was the same as if Richard Seybold first received the money and then placed it in the hands of a disbursing agent for disbursement. For such a purpose the plaintiff might be a disbursing agent. For Richard Seybold to have taken it would have been a mere ceremony.
Judgment and order affirmed, with costs..
Sedgwick, Oh. J., and MoAdam, J., concur.
